Case No. 1:21-cv-01382-GPG-NRN Document 83-2 filed 06/20/23 USDC Colorado pg 1 of
                                      3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


   Civil Action No. 21-cv-01382-GPG-NRN

   ANDREW SCHOBER,
                  Plaintiff,
   v.
   BENEDICT THOMPSON, OLIVER READ,
   EDWARD J. THOMPSON, CLAIRE
   L. THOMPSON, PAUL READ, and HAZEL
   DAVINA WELLS,
                  Defendants.


                             DECLARATION OF NICOLAS BAX




         1.     I, Nicolas Bax, pursuant to 28 U.S.C. § 1746, hereby declare under penalty

   of perjury under the laws of the United States of America that the following is true and

   correct, unless stated upon information and belief:

         2.     I am not a party to this action. I currently reside in Brookline, MA. This

   declaration is based upon my personal knowledge of the matters set forth herein.

         3.     I am a Cryptocurrency Researcher and Protocol Developer who is familiar

   with, and has used both Bitcoin and Monero cryptocurrencies.

         4.     Until June 2021, I was employed full-time as a Ph.D. candidate in the

   Structural Biology Department at Stanford University School of Medicine.

         5.     I met Andrew Schober, the Plaintiff in this action, on Reddit.com in August

   2019. I saw Mr. Schober’s Reddit post and messaged him, offering to help him investigate

   the cryptocurrency-jacking “Malware” because, as a Cryptocurrency Researcher, I was




                                               1
Case No. 1:21-cv-01382-GPG-NRN Document 83-2 filed 06/20/23 USDC Colorado pg 2 of
                                      3




   intrigued by his story, as the Malware he described on Reddit was, to my knowledge, the

   first of its kind in the wild.

           6.      In August 2019, despite my best efforts to analyze the Bitcoin and Monero

   cryptocurrency transactions involved in the theft of Mr. Schober’s cryptocurrencies, I was

   unable to identify any information connecting the blockchain transactions that Mr. Schober

   was interested in, to any person’s identity. Unlike transparent blockchains such as Bitcoin

   and Ethereum, Monero’s blockchain obfuscates the sender, receiver, and amount being

   transferred in a Monero transaction by default. The only information available I was able

   to find, in August 2019, was data from ShapeShift, showing that Bitcoin had been

   transferred from a bitcoin address embedded in the Malware to ShapeShift; the Bitcoin

   was then converted to Monero (XMR) and transferred to a Monero address. Using data

   from the Monero blockchain, I was then able to generate a list of 9 transactions which

   could plausibly have sent the XMR from ShapeShift.

           7.      In December 2019, Mr. Schober informed me that he had uncovered a way

   to use ShapeShift’s API to determine, for any given Monero transaction sent to

   ShapeShift, what cryptocurrency the XMR was converted into, and where (to what

   cryptocurrency, i.e., bitcoin address) it went.

           8.      In December 2019, I read the ShapeShift API documentation, and I recall

   the documentation stating that a user of Shapeshift’s API could query the API for

   blockchain addresses controlled by ShapeShift, and in response, receive information

   about transactions involving those addresses. However, I knew that Monero addresses

   could not be obtained from publicly-available blockchain transaction data. Technically, this

   was correct, however, Mr. Schober informed me that ShapeShift’s API was configured so




                                                 2
Case No. 1:21-cv-01382-GPG-NRN Document 83-2 filed 06/20/23 USDC Colorado pg 3 of
                                      3




   that a publicly-exposed 32-byte “payment ID” could be used to query information about

   Monero deposits to ShapeShift (even though Monero addresses themselves were not

   exposed). Therefore, Shapeshift API users could query, and scrape information for

   blockchain transaction data involving Shapeshift and Monero, based on the payment ID.

          9.     I confirmed what Mr. Schober had told me by querying the Shapeshift API,

   and I found that the payment ID for 1 of the 9 transactions I had identified in August 2019

   reflected a transaction that sent Monero to ShapeShift in exchange for Bitcoin which was

   then sent to the Bitcoin address, 1BeNEdictBLbmVJ9LXkSwqiyWWf36XKTD1.

          10.    I reported Mr. Schober’s discovery of how to trace Shapeshift Monero

   transactions using the payment IDs to ShapeShift’s bug bounty program because I

   considered the feature to be a “bug” (or, unintended information leakage), since the

   feature made information available in a manner that I did not believe was consistent with

   Shapeshift’s API documentation.



   Dated: _______________
          June 20, 2023 _____________________________________
                                      Nicolas Bax




                                               3
